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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:                                             Chapter 13 Proceeding
          Natacha Rios
                                                    Bankruptcy No. 19-14180 JKF
                 Debtor(s)

          NOTICE OF MOTION, RESPONSE DEADLINE AND HEARING DATE

       Citizens Bank, N.A. s/b/m to Citizens Bank of Pennsylvania has filed a Motion for relief
of from the Automatic Stay with the court to permit Citizens Bank, N.A. s/b/m to Citizens Bank
of Pennsylvania to foreclose on 583 Alcott Street, Philadelphia, PA 19120.

Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to
consult an attorney.)

2. If you do not want the court to grant the relief sought in the Motion or if you want the court to
consider your views on the Motion, then on or before July 9, 2020 you or your attorney must file a
response to the Motion (see Instructions on the next page).

3. A hearing on the Motion is scheduled to be held on July 22, 2020, at 11:00 am in Courtroom 3,
United States Bankruptcy Court, 900 Market Street, Philadelphia, PA 19107. Unless the court orders
otherwise, the hearing on this contested matter will be an evidentiary hearing.

4. If you do not file a response to the Motion, the court may cancel the hearing and enter an order
granting the relief requested in the Motion.

5. You may contact the Bankruptcy Clerk's office at 215-408-2800 to find out whether the hearing has
been canceled because no one filed a response.

6. If a copy of the Motion is not enclosed, a copy of the Motion will be provided to you if you request a
copy from the attorney whose name and address is listed on the next page of this Notice.
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                                           Filing Instructions

7. If you are required to file documents electronically by Local Bankruptcy Rule 5005-1, you must
file your response electronically.

8. If you are not required to file electronically, you must file your response at
                        United States Bankruptcy Clerk’s Office
                        United States Bankruptcy Court
                        900 Market Street
                        Philadelphia, PA 19107


9. If you mail your response to the bankruptcy clerk’s office for filing, you must mail it early enough so
that it will be received on or before the date stated in Paragraph 2 on the previous page of this Notice.

10. On the same day that you file or mail your Response to the Motion, you must mail or deliver a copy
of the Response to the movant’s attorney:
                        Mary F. Kennedy, Esquire
                        Law Office of Gregory Javardian, LLC
                        1310 Industrial Blvd, Ste 101
                        Southampton, PA 18966
                        Phone: 215-942-9690
                        Fax: 215-942-9695
                        mary@javardianlaw.com




Date: June 25, 2020
